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                            U NITED STA TES DISTR ICT C O U R T
                                   DISTR IC T O F N EV A DA

 UNITED STATESOFAM ERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
                                                )         2:1I-CR-3IO-JCM -IRJJ)
                                                )
 KYLE LAIR,                                     )
                                                )
                      Defendant.                )
                             FINAL ORDER OF FO RFEITURE
         On M ay 3,2012,the United States DistrictCourtfor the DistrictofNevada entered a
 PreliminaryOrderofForfeiturepm suanttoFed.R.Crim.P.32.2(b)(1)and(2))Title21,UnitedStates
 Code,Section853(a)(1)and(a)(2);andTitle21,UnitedStatesCode,Section853418,baseduponthe
 pleaofguiltyby defendantKYLE LAIR to crim inaloffenses,forfeiting specitk property alleged in
 theCrim inalInformation and agreedto inthePleaM emorandum and shown bytlleUnitedStatesto
 have the requisite nexus to the offenses to which defendantKYLE LAIR pled guilty. Criminal
 Information,ECFNO.131;PleaM em orandum ,ECFNO.133;M inutesofChangeofpleaproceedings,
 ECF No.135;Prelim inary OrderofForfeiture,ECF N o.134.
        This Courtfinds the United States ofAmerica published the notice ofthe forfeiture in
 accordance with the 1aw via the officialgovermnent internet forfeiture site,www .forfeiture.gov,
 consecutively from M ayl3,20l2,through Jtme 10,2012,notifyingallthird partiesoftheirrightto
 petition the Court.NoticeofFiling ProofofPublication,ECF No.149.
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         ThisCourttindsnopetition wasfiled hereinby oron behalfofanyperson orentity and the
 tim e fortiling such petitionsand d aim s has expired.
         ThisCourttindsnopetitionsarependingwithregardtotheassetsnam edherein arldthetime
 forpresenting such petitionshasexpired.
         THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata11right,
 title,and interestin the property hereinalterdescribed iscondemned,forfeited,mld vested in tlw

 United StatesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 32.2(c)(2);Title 21,United StatesCode,Section 853(a)(1)and (a)(2);arldTitle21,United States
 Code,Section853(p)andshallbedisposedofaccordingtolaw:
                a.     $81,475.00inUnitedSutesCurrency(seizedfrom 24/7PrivateVaults,based
                       onkeysrecoveredfrom JacobLillonorabout4/13/11))
                b.     $4,105.00inUnitedStatesCurrency(seizedfrom EdmundJ.Schroback
                       representingtheday'sdrugsalesofmarijuanabyCompletelyLegal1.0onor
                       about4/13/2011);
                       $2,962.00inUnitedStatesCurrency(seizedfrom thecashregisterat
                       CompletelyLegal2.0onorabout4/13/2011);
                d.     $2,585.00inUnitedStatesCurrency(seizedfrom thecashdrawerat
                       CompletelyLegal2.0onorabout8/3/2011);
                e.     $1,314.00in UnitedStatesCurrenc,
                                                      y (seizedfrom masterbedroom ofJacob
                       Lill'shomeonorabout8/3/2011);
                       $12,056.00inUnitedStatesCurrency(seizedfrom baginJacobLill'svehicle
                       athishomeonorabout8/3/2011);
                g.     $2,567.00inUnitedStatesCurrency(seizedfrom cashdraweratCompletely
                       Legal3.0on orabout8/3/2011);
               h.      $7,432.00inUnitedStatesCurrency(seizedfrom JacobLill'sresidenceonor
                       about4/13/2011);



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                     $2,150.00inUnited StatesCurrency(seizedfrom BankofAmericaAccount
                     No,501012187203inthenameofPM W ,Inc.,seizedonorabout8/5/2011);
                     $2,665.00inUnited StatesCurrency(seizedfrom BankofAmericaAccount
                     No.501012645570 in the name ofEOS Ventures,LLC,seized on orabout

                     8/5/2011);and
              k.     2007 M ercedes CLK 350,V lN :W 1781756115717215349,including
                     approximately$18,000inupgrades,includingacustom audiosystem (seized
                     onorabout4/13/11)Cpropertf).
        IT IS FURTHER ORDERED ,ADJUDGED,AN D DECREED thatany and a1lforfeited
 fundssincludingbutnotlim itedto,currency,currencyequivalents,certiticatesofdeposits asw ellas
 anyincomederivedasaresultoftheUnittdStatesofAm erica'sm arlagementofanypropertyforfeited
 herein,andtheproceedsfrom thesaleofanyforfeitedpropertyshallbedisposedofâccordingtolaw.
        The Clerk ishereby directedto send copiesofthisOrderto a11counselofrecord mzd three
 certified copiestotheUnited tatesAttonwy'sOffice.
        DATED this              dayof               u l 2012  .




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